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Attorneys for Defendant and Counterclatmant TRUMP UNIVERSITY, LLC
and Defendant DONALD J. TRUMP

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA

 

TARLA MAKAFFF, BRANDON ) Case No. 10 CV 0940 IEG (WVG)

KELLER, ED OBERKROM, and )

PATRICIA MURPHY, on Behalf of )

Themselves and All Others Similarly ) DECLARATION OF ALAN G.

Situated, ) GARTEN IN SUPPORT OF MOTION
) TO ALLOW HIM TO APPEAR ON

Plaintiffs, ) BEHALF OF DONALD J. TRUMP AT

) EARLY NEUTRAL EVALUATION

Vv. ) CONFERENCE
)

TRUMP UNIVERSITY, LLC, (aka )

Trump Entrepreneur Initiative) a New )

York Limited Liability Company, )

DONALD J. TRUMP, and DOES 1 )

through 50, inclusive, )
)

Defendants. )
)
I, Alan G. Garten, declare:
1. [am an attorney licensed to practice in the State of New York. I am Chief Litigation

Counsel to The Trump Organization, Inc., Trump University, LLC, and personal counsel to
Mr. Trump.

2. Trump University, LLC and Donald J. Trump have been named as defendants in the
above-entitled action in which Plaintiffs seek damages under various contract, tort and statutory
theories.

3. It is my understanding that the Court and counsel are attempting to schedule the Early

Neutral Evaluation Conference in this matter in September 2011. I am available to attend the

1 Case No. 10 CV 0940 IEG (WVG)
DECLARATION OF ALAN G. GARTEN IN SUPPORT OF MOTION TO ALLOW HIM TO APPEAR ON BEHALF
OF DONALD J. TRUMP AT EARLY NEUTRAL EVALUATION CONFERENCE

 

 
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Conference in San Diego, California on September 6, 12 or 14, three of the dates proposed by
Mr. Fuladian.

4. T will be attending the ENE Conference in person as the representative for both
Trump University, LLC and Mr. Trump with full authority to negotiate and enter into settlement
terms for both Trump University, LLC and Mr. Trump.

5, I have been personally involved with and have directed the defense of this litigation
on behalf of Trump University, LLC since its inception in Spring 2010, and more recently, after
plaintiffs named Mr. Trump personally.

6. Accordingly, I have a full, complete, and thorough understanding of the legal and
factual issues involved in this case that would be necessary for consideration and discussion at the
ENE Conference.

7. In addition, and because I have a thorough and detailed knowledge and understanding
of those legal and factual issues, Mr. Trump has, throughout this matter, given me full authority for
the direction of this action, including its potential settlement at the ENE Conference.

8. Based on the foregoing, Mr. Trump has given me full authority to negotiate and to
enter into settlement terms on his behalf at the ENE Conference. I also have full authority to
negotiate and to enter into settlement terms on behalf of Trump University, LLC at the ENE
Conference. | will not need to confer with Mr. Trump during the ENE Conference to obtain
information or authority. However, if the Court wishes to contact him personally during the
Conference, I will be able to reach him.

9, {have reviewed Mr. Trump’s calendar and travel schedule. Mr. Trump is currently
scheduled to be in Scotland the week of September 5, in Brazil the week of September 12, and in
Australia the week of September 19. His schedule is fluid and could include more or fewer travel
plans during September. I do not yet know his schedule after his expected travel to Australia.

I declare under penalty of perjury according to the laws of the United States that the
foregoing is true and correct and that this declaration was signed bysme on July 11, 2011, in New

York, New York.

 

Alart& Garten? ~
. Case No. 10 CV 0940 IEG (WVG)
DECLARATION OF ALAN G. GARTEN IN SUPPORT OF MOTION TO ALLOW HIM TO APPEAR ON BEHALF
OF DONALD J. TRUMP AT EARLY NEUTRAL EVALUATION CONFERENCE

 

 
